DPR MODIFIED PROMESA B1040 (FORM 1040) (05/17)
Case:17-03283-LTS Doc#:6664-2 Filed:04/30/19 Entered:04/30/19 19:22:55                                                                             Desc:
   PROMESA COVERCoversheet SHEET PageCASE   1 of 2NUMBER
                                                                                                       (Court Use Only)
                                   (Instructions on Reverse)


  PLAINTIFFS (DEBTOR, if Title III Petition; ISSUER, if DEFENDANTS
  Title VI Application)                                                                                FP + 1, LLC
  The Special Claims Committee of The Financial Oversight and Management Board for
  Puerto Rico, by and through its Members and the Official Committee of Unsecured
  Creditors of the Commonwealth of Puerto Rico, as co-trustees respectively, of The
  Commonwealth of Puerto Rico


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  PARTY (Check One Box Only)                                                                           PARTY (Check One Box Only)
     Debtor                                                                                              Debtor
     Creditor                                                                                            Creditor
     Trustee                                                                                             Trustee
     U.S. Trustee/Bankruptcy Admin                                                                       U.S. Trustee/Bankruptcy Admin
     Other                                                                                               Other
  CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
  Action for avoidance of constructive fraudulent transfer under 11 U.S.C. 548 and 550; action for disallowance of claims under 11 U.S.C.
  502; and action for avoidance of fraudulent transfer under 31 L.P.R.A. §§ 3491-3500.

                                                                           NATURE OF SUIT
                          □ PROMESA Title III Petition □ PROMESA Title VI Application for Approval of Modifications □ Other Federal
                               Question      Adversary Proceeding    Demand $3,107,539.00

    If Adversary Proceeding is checked, number up to five (5) boxes starting with lead cause of action as 1, first alternative cause
                                                as 2, second alternative cause as 3, etc., below:
  FRBP 7001(1) - Recovery of Money/Property                              FRBP 7001(7) - Injunctive Relief
       11-Recovery of money/property - §542 turnover of                     71-Injunctive relief - imposition of stay
  property                                                                  72-Injunctive relief - other
      12-Recovery of money/property - §547 preference
  1 13-Recovery of money/property - §548 fraudulent                      FRBP 7001(8) Subordination of Claim or Interest
  transfer                                                                  81-Subordination of claim or interest
  2 14-Recovery of money/property - other
                                                                          FRBP 7001(9) Declaratory Judgment
  FRBP 7001(2) - Validity, Priority or Extent of Lien                       91-Declaratory judgment
       21-Validity, priority or extent of lien or other interest
  in property                                                            FRBP 7001(10) Determination of Removed Action
                                                                            01-Determination of removed claim or cause
  FRBP 7001(5) - Revocation of Confirmation
       51-Revocation of confirmation                                    Other
                                                                            02-Other (e.g. other actions that would have been brought
                                                                        in state court if unrelated to bankruptcy case)

                    TITLE III CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
  NAME OF DEBTOR                                                                                       CASE NO.
  The Commonwealth of Puerto Rico, et al.                                                              17-BK 3283-LTS
  DISTRICT IN WHICH CASE IS PENDING                                                                    DIVISION OFFICE        NAME OF JUDGE
  USDC – Puerto Rico                                                                                   San Juan               Laura Taylor Swain
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                             RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                   DEFENDANT                                         ADVERSARY
                                                                                              PROCEEDING NO.


DISTRICT IN WHICH CASE IS PENDING                           DIVISION OFFICE                   NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF) /s/ Edward S. Weisfelner
DATE                                            PRINT NAME OF ATTORNEY (OR PLAINTIFF)
April 30, 2019                                  Edward S. Weisfelner




THIS FORM IS TO BE USED EXCLUSIVELY FOR FILINGS RELATING TO THE PUERTO RICO OVERSIGHT MANAGEMENT AND ECONOMIC STABILITY ACT (PROMESA).
FOR ADMINISTRATION PURPOSES ONLY, THE PUBLIC DOCKETS FOR PROMESA PROCEEDINGS UNDER TITLE III AND ADVERSARY PROCEEDINGS WILL BE
MAINTAINED ON THE CASE MANAGEMENT/ELECTRONIC CASE FILING (CM/ECF) SYSTEM OF THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
PUERTO RICO. THESE CASES ARE UNDER THE JURISDICTION OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO.
